                                      No. 24-1265

                   UNITED STATES COURT OF APPEALS
                        FOR THE FIRST CIRCUIT
       CENTRAL MAINE POWER COMPANY; VERSANT POWER; ENMAX
   CORPORATION; MAINE PRESS ASSOCIATION; MAINE ASSOCIATION OF
BROADCASTERS; JANE P. PRINGLE, individually and in her capacity as a registered
     voter and elector; KENNETH FLETCHER, individually and in his capacity as a
 registered voter and elector; BONNIE S. GOULD, individually and in her capacity as a
registered voter and elector; BRENDA GARRAND, individually and in her capacity as a
 registered voter and elector; LAWRENCE WOLD, individually and in his capacity as a
                                registered voter and elector,
                                                    Plaintiffs-Appellees,
                                          v.
      WILLIAM J. SCHNEIDER, in his official capacity as Chairman of the Maine
 Commission on Governmental Ethics and Election Practices; DAVID R. HASTINGS,
III, in his official capacity as a Member of the Maine Governmental Ethics and Election
    Practices; SARAH LECLAIRE, in her official capacity as a Member of the Maine
Commission on Governmental Ethics and Election Practices; DENNIS MARBLE, in his
 official capacity as a Member of the Maine Commission on Governmental Ethics and
Election Practices; STACEY D. NEUMANN, in her official capacity as a Member of the
Maine Commission on Governmental Ethics and Election Practices; AARON M. FREY,
             in his official capacity as Attorney General for the State of Maine,
                                                 Defendants-Appellants.

        On Appeal from the United States District Court, District of Maine
    BRIEF OF AMICUS CURIAE PROTECT MAINE ELECTIONS IN
            SUPPORT OF DEFENDANTS-APPELLANTS
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                 CORPORATE DISCLOSURE STATEMENT
      Since August 5, 2022, Protect Maine Elections has been a Maine corporation

in good standing. Protect Maine Elections neither has a parent corporation nor

issues stock. There are no publicly held corporations that own ten percent or more

of the stock of Protect Maine Elections.




                                           ii
                                         TABLE OF CONTENTS
INTERESTS OF AMICUS CURIAE ........................................................................ 1

SUMMARY OF ARGUMENT .................................................................................. 1
BACKGROUND ....................................................................................................... 3

    A. History of Question 2....................................................................................... 3

    B. Federal Law ..................................................................................................... 6
ARGUMENT ............................................................................................................. 8

I. The Spending Ban Is Constitutional ..................................................................... 8
    A. Restrictions on spending by foreign governments in ballot measure
          elections are constitutional ............................................................................. 8
    B. The “5% ownership” definition of “foreign government-influenced

         entity” is valid ............................................................................................... 11
    C. The “actual influence” definition is neither overbroad nor vague ................20
II. The District Court’s Failure to Review All Provisions of the Act Is an
Abuse of Discretion ................................................................................................. 23

    A. The disclaimer requirement is a stand-alone measure that advances distinct
       governmental interests and is subject to only an intermediate standard of
       scrutiny........................................................................................................... 24

    B. The injunction is overbroad ........................................................................... 28

CONCLUSION ........................................................................................................29

CERTIFICATE OF COMPLIANCE ....................................................................... 31
CERTIFICATE OF SERVICE ................................................................................. 32




                                                            iii
                                   TABLE OF AUTHORITIES
Cases                                                                                                     Page
Ambach v. Norwick, 441 U.S. 68 (1979).................................................................... 9

Americans for Prosperity Foundation v. Bonta, 594 U.S. 595 (2021) ....................21

Attorney General of U.S. v. Irish People, Inc., 684 F.2d 928 (D.C. Cir. 1982),
   cert. denied sub nom., Irish People Inc. v. Smith, 459 U.S. 1172 (1983) ..... 26-27

Attorney General v. Irish Northern Aid Committee, 346 F. Supp. 1384
   (S.D.N.Y. 1972), aff’d, 465 F.2d 1405 (2d Cir. 1972) ........................................27
Blount v. SEC, 61 F.3d 938 (D.C. Cir. 1995) ........................................................... 18

Bluman v. FEC, 800 F. Supp. 2d 281 (D.D.C. 2011), summ. aff’d,
    565 U.S. 1104 (2012) ............................................................................ 8, 9, 11, 14

Buckley v. Valeo, 424 U.S. 1 (1976) .......................................................18, 19, 20, 27
Cabell v. Chavez–Salido, 454 U.S. 432 (1982) ......................................................... 9
California Medical Association v. FEC, 453 U.S. 182 (1981) ................................19
Citizens United v. FEC, 558 U.S. 310 (2010) ...................................................passim

Daggett v. Commission on Governmental Ethics & Election Practices,
  205 F.3d 445 (1st Cir. 2000) ............................................................................... 19

Foley v. Connelie, 435 U.S. 291 (1978) ............................................................... 9, 10

GAF Corporation v. Milstein, 453 F.2d 709 (2d Cir. 1971) ....................................15
Gaspee Project v. Mederos, 13 F.4th 79 (1st Cir. 2021) ..........................................22

McConnell v. FEC, 540 U.S. 93 (2003) .......................................................18, 19, 26

National Organization for Marriage v. Daluz, 654 F.3d 115 (1st Cir. 2011) ..........22
National Organization for Marriage v. McKee, 649 F.3d 34 (1st Cir. 2011) ....18, 26

Nixon v. Shrink Missouri Government PAC, 528 U.S. 377 (2000) ....................16, 19

OneAmerica Votes v. State, 518 P.3d 230 (Wash. Ct. App. 2022) ........................... 10


                                                       iv
SpeechNow.org v. FEC, 599 F.3d 686 (D.C. Cir. 2010) ..........................................26

United States v. Williams, 553 U.S. 285 (2008) ....................................................... 23
Federal Statutes and Regulations:
15 U.S.C. § 78m(d) ..................................................................................................13

22 U.S.C. § 611(b)(3)................................................................................................. 6
22 U.S.C. § 612(a) ................................................................................................... 27

22 U.S.C. § 614(b) ................................................................................................... 27

52 U.S.C. § 30118(a)............................................................................................8, 14
52 U.S.C. § 30121 ....................................................................................................20
52 U.S.C. § 30121(a)(1) ............................................................................................. 6

52 U.S.C. § 30121(b)(1) ............................................................................................ 6

52 U.S.C. § 30121(b)(2) ............................................................................................ 6
11 C.F.R. § 110.20(i) ............................................................................................2, 21
11 C.F.R. § 114.5(b) ................................................................................................... 8
17 C.F.R. § 240.14a–8..............................................................................................16

17 C.F.R. § 240.13d-1 ..............................................................................................13
17 C.F.R. § 240.13d-101 ..........................................................................................13

Contribution Limitations and Prohibitions, 67 Fed. Reg. 69928-01
  (Nov. 19, 2002) ................................................................................................... 21

SEC Procedural Requirements and Resubmission Thresholds under Exchange
  Act Rule 14a-8, 84 Fed. Reg. 66,458 (Dec. 4, 2019) ......................................... 16

State Statutes and Regulations:
1 Me. Rev. Stat. § 71(8) .....................................................................................23, 28

21-A Me. Rev. Stat. § 1064 ........................................................................................ 1



                                                            v
21-A Me. Rev. Stat. § 1064(1)-(2) ....................................................................... 1, 24

21-A Me. Rev. Stat. § 1064(1)(E)(1) .............................................................2, 28, 29
21-A Me. Rev. Stat. § 1064(1)(E)(2)(a) .........................................................2, 28, 29

21-A Me. Rev. Stat. § 1064(1)(E)(2)(b)...................................................2, 20, 28, 29

21-A Me. Rev. Stat. § 1064(6) ............................................................................. 1, 24

21-A Me. Rev. Stat. § 1064(7) ................................................................................... 1

Cal. Gov’t Code § 85320 ......................................................................................... 10
Colo. Rev. Stat. § 1-45-107.5 ................................................................................... 10

Fla. Stat. § 106.08(12)(b) ......................................................................................... 10
Idaho Code Ann. § 67-6610d ..................................................................................10

Md. Code, Elec. Law § 13-236.1 ............................................................................. 10
N.D. Cent. Code § 16.1-08.1-03.15 ......................................................................... 10
Neb. Rev. Stat. § 49-1479.03 ................................................................................... 10

Nev. Rev. Stat. § 294A.325 ......................................................................................10
S.D. Codified Laws § 12-27-21 ............................................................................... 10
Wash. Rev. Code § 42.17A.417 ............................................................................... 10
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  influence-maine-ballot-referendum/ ..................................................................... 4
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FEC Advisory Opinion 1984-62 (Mar. 21, 1985),
  https://www.fec.gov/files/legal/aos/1984-62/1984-62.pdf ................................... 7



                                                          vi
FEC Advisory Opinion 1989-20 (Oct. 27, 1989),
  https://saos.fec.gov/saos/searchao?AONUMBER=1989-20 ..............................21
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  https://www.fec.gov/files/legal/aos/1989-32/1989-32.pdf ................................... 7
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  https://www.fec.gov/files/legal/aos/2006-15/2006-15.pdf ................................. 21
FEC, Campaign Guide; Corporations and Labor Organizations (Jan. 2018)
  https://www.fec.gov/resources/cms-content/documents/policy-
  guidance/colagui.pdf ............................................................................................. 8
FEC, Draft Legislative Recommendations 2023,
  https://www.documentcloud.org/documents/24233992-2023-legislative-
  recommendations?responsive=1&title=1 ............................................................. 7
H.R. Rep. No.1711, 90th Cong., 2d Sess. 4 (1968) ................................................. 15
Hearing on LD 194,
  https://www.mainelegislature.org/legis/bills/display_ps.asp?ld=194&PID
  =1456&snum=130&sec3# .................................................................................... 5
Hearing on LD 1610,
  https://www.mainelegislature.org/legis/bills/display_ps.asp?PID=1456
  &snum=131&paper=&paperld=l&ld=1610# ....................................................... 5
Maine Commission on Governmental Ethics & Election Practices,
  May 29, 2024 Meeting, Item No. 6,
  https://www.maine.gov/ethics/meeting/2024-05-29 ..................................... 22-23
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  Amendments, Feb. 5, 2024,
  https://www.maine.gov/ethics/sites/maine.gov.ethics/files/inline-
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  Tree_Power_Company_Initiative_(2023)#cite_note-oppfinance-10 ................... 4
Prof. Laurence H. Tribe, Statement re: St. Petersburg legislation,
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   content/uploads/2016/10/7.-Prof.-Laurence-Tribe-Letter-of-Support.pdf ......... 12
S. Rep. No. 550, 90th Cong., 1st Sess. 4 (1967)......................................................15
Section 13(d) and Disclosure of Corporate Equity Ownership,
   119 U. PA. L. REV. 853, 862 (1971) .............................................................. 15-16


                                                         vii
Statement of Reasons of Chair Broussard, MURs 7523 & 7512 (Nov. 2, 2021)
   https://www.fec.gov/files/legal/murs/7523/7523_28.pdf. .................................... 7
Statement of Reasons of Vice Chairman Petersen, et al., MUR 6678 (Apr. 20,
   2015), https://www.fec.gov/files/legal/murs/6678/15044372963.pdf .................. 7
Testimony of Ron Fein re: Political spending by foreign-influenced corporations
   LD 479, 194, 641 (Mar. 12, 2021), https://www.mainelegislature.org/
   legis/bills/getTestimonyDoc.asp?id=146572 ........................................................ 5




                                                 viii
                       INTERESTS OF AMICUS CURIAE1

      Protect Maine Elections (“PME”) is a nonpartisan campaign organization

launched by Maine citizens to pass Question 2, a citizen’s initiative to restrict foreign

influence in Maine elections, now codified at 21-A Me. Rev. Stat. § 1064 (the “Act”).

PME thus has a unique interest in defending the Act and specialized knowledge

about its purpose and design.

      All parties have consented to this filing.

                           SUMMARY OF ARGUMENT

      On November 7, 2023, 86% of the Maine electorate voted to pass Question 2,

the largest margin of approval in the 115-year history of the state’s ballot questions.

      The Act sought to correct loopholes in federal and state law that had allowed

foreign-owned domestic corporations to spend tens of millions of dollars in Maine

elections and statehouses, and to engage in this spending without full disclosure. It

comprises three subparts: a ban on campaign contributions and expenditures by a

“foreign government-influenced entity” (“FGIE”), see 21-A Me. Rev. Stat. §

1064(1)-(2) (the “spending ban”); due diligence requirements for media platforms

to help effectuate the ban, see id. § 1064(7); and a separate disclosure provision

requiring FGIEs to include disclaimers on certain lobbying communications, see id.


1
 Amicus affirms that no counsel for a party authored this brief in whole or in part,
and no person other than amicus or its counsel contributed money to fund the
preparation or submission of this brief.

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§ 1064(6). The Act sets forth three alternative definitions of the regulated class,

defining FGIEs to include “foreign government[s],” id. § 1064(1)(E)(1); entities

wherein a foreign government or “foreign government-owned entity” has

“ownership of 5% or more of the total equity,” id. § 1064(1)(E)(2)(a); and entities

wherein a foreign government or foreign government-owned entity “[d]irects,

dictates, controls or directly or indirectly participates in [the entity’s] decision-

making process” regarding its campaign activities, id. § 1064(1)(E)(2)(b).

      After consolidating four lawsuits into the instant case, the district court in

February 2024 preliminary enjoined the Act in its entirety. Despite the sweeping

nature of the relief, the opinion addressed the constitutionality of only the spending

ban, without discussing the disclaimer requirement or due diligence provisions.

      Amicus PME makes two principal arguments here. First, the lower court erred

in holding that the “5% ownership” and “actual influence” FGIE definitions, 21-A

Me. Rev. Stat. § 1064(1)(E)(2)(a) & (b), were overbroad and vague. The 5%

threshold reflects a well-recognized, widely used benchmark for corporate control

in existing federal securities law, and targets only a narrow subset of domestic

entities controlled or influenced by foreign governments. Section 1064(1)(E)(2)(b)’s

“actual influence” standard is nearly identical to a federal regulation, see 11 C.F.R.

§ 110.20(i), that the Federal Election Commission (“FEC”) has enforced without




                                          2
legal challenge or difficulty for over two decades. A standard that is sufficiently

tailored and clear in federal law is equally so in Maine.

      Second, even accepting the lower court’s constitutional analysis, its injunction

sweeps too broadly. The court “reserved the question” raised by Maine, Add. at 39,2

as to whether § 1064(1)(E)(2)(a) and (b) could be severed from the Act, declining to

consider whether the spending ban could be preserved as to “foreign governments,”

even as it acknowledged the latter application was likely constitutional, id. at 31.

The court also gave no reason for enjoining the disclaimer provision and media due

diligence requirements. While the media requirements might be seen as auxiliary to

the spending ban, the disclaimer requirement is a stand-alone provision supported

by distinct informational interests, yet the opinion ignored § 1064(6) altogether.

      For these reasons, the district court’s injunction should be vacated.

                                 BACKGROUND

    A. History of Question 2

      The enactment of Question 2 represented the culmination of a multi-year

endeavor that included both legislative efforts and a citizen-led campaign to enact

restrictions on campaign spending by foreign governments in Maine elections.




2
  Amicus cites the February 29, 2024 opinion as reproduced in the Addendum
(“Add.”) to Appellants’ Brief.

                                          3
       The endeavor began after foreign-owned companies made massive campaign

expenditures to influence successive Maine referenda. In 2020, for instance, a

Quebec government-owned public utility, HydroQuebec, and its affiliates, dwarfed

all other spenders that year in Maine by pouring more than $20 million into an effort

to defeat Question 1, a measure aimed at blocking the utility’s power line project

through the state. Anna Massoglia, Foreign company’s subsidiary poured millions

into influencing Maine ballot referendum, Ctr. For Responsive Politics, Nov. 3, 2021,

https://www.opensecrets.org/news/2021/11/foreign-companys-millions-influence-

maine-ballot-referendum/.

       Then, in 2023, appellee ENMAX, a corporation owned by the City of Calgary,

contributed over $15 million through a political committee to spend against Question

3, a measure that would have created an electric utility, governed by an elected board,

to acquire and operate Maine’s utilities. Avangrid Management Company, a

corporation owned by the Spain-based Iberdrola, contributed another $24 million.

These foreign-owned companies outspent Maine-based groups supporting Question

3 by almost $40 million to $1 million. Maine Question 3, Pine Tree Power Company

Initiative       (2023),         Campaign          Finance,          Ballotpedia.com,

https://ballotpedia.org/Maine_Question_3,_Pine_Tree_Power_Company_Initiative

_(2023)#cite_note-oppfinance-10.




                                          4
      Both Maine citizens and their lawmakers were alarmed by this huge influx of

foreign spending. In 2021 and again in 2023, the Maine Legislature passed

legislation to ban foreign government spending in state elections, but the Governor

vetoed the bill both times. PME was founded to pass this reform by citizen initiative

instead and worked to qualify it for the ballot as Question 2, which was ultimately

passed with overwhelming public support.

      In debating legislation to prevent foreign corporate spending, the Legislature

heard hours of public testimony from dozens of citizens and lawmakers in both its

2021 and 2023 sessions.3 The Legislature also heard from legal experts who

addressed the constitutionality of foreign campaign spending restrictions. The

nonprofit organization Free Speech for People submitted testimony on this subject,

including letters from Professor Laurence Tribe of Harvard Law School, Professor

John Coates of Harvard Law School (“Coates Ltr.”) and FEC Commissioner Ellen

L. Weintraub. Testimony of Ron Fein, LD 479, 194, 641, Mar. 12, 2021),

https://www.mainelegislature.org/legis/bills/getTestimonyDoc.asp?id=146572.

Professor Coates discussed at length how minority shareholders with ownership

levels between 1% and 5% can wield significant influence—both formal and


3
 See Hearing on LD 194,
https://www.mainelegislature.org/legis/bills/display_ps.asp?ld=194&PID=1456&s
num=130&sec3#; Hearing on LD 1610,
https://www.mainelegislature.org/legis/bills/display_ps.asp?PID=1456&snum=131
&paper=&paperld=l&ld=1610#.

                                         5
informal—over the management and decision-making of corporations. See Coates

Ltr. at 6-9.

   B. Federal Law

       Until passage of Question 2, Maine elections were protected from foreign

spending only by the Federal Election Campaign Act (“FECA”), which bars “foreign

national[s]” from “directly or indirectly” making contributions or expenditures “in

connection with a Federal, State, or local election.” 52 U.S.C. § 30121(a)(1). Section

30121 defines “foreign nationals” to include: (1) “an individual who is not a citizen

of the United States or a national of the United States,” id. § 30121(b)(2); and (2) a

“foreign principal, as such term is defined by section 611(b) of Title 22,” id. §

30121(b)(1). In turn, Section 611(b) of the Foreign Agents Registration Act

(“FARA”), defines “foreign principal” to include, inter alia, “a partnership,

association, corporation, organization, or other combination of persons organized

under the laws of or having its principal place of business in a foreign country.” 22

U.S.C. § 611(b)(3).

       This ban is marked by two significant limitations. First, Section 30121 has

been construed to apply only to candidate elections, leaving state referenda

vulnerable to foreign spending. In the last decade, the FEC has twice declined to find

that FECA governed spending in state ballot measure elections, explaining that it

was “sensitive to the unique balance of power between the federal government and



                                          6
the states” and therefore would not extend the statute beyond its explicit terms.4 See

Stmt. of Reasons of Chair Broussard, MURs 7523 & 7512 (Nov. 2, 2021), at 3,

https://www.fec.gov/files/legal/murs/7523/7523_28.pdf. See also Stmt. of Reasons

of Vice Chairman Petersen, et al., MUR 6678 (Apr. 20, 2015), at 2,

https://www.fec.gov/files/legal/murs/6678/15044372963.pdf. Notably, however, the

FEC based these decisions on its interpretation of FECA, not on any constitutional

concerns about prohibiting foreign money in state referenda. Indeed, the FEC has

frequently urged Congress to amend Section 30121 to explicitly cover ballot

measure elections—including as recently as December of last year—confirming that

the FEC believes such an extension would be constitutional. See FEC, Draft

Legislative           Recommendations                2023,            at            9,

https://www.documentcloud.org/documents/24233992-2023-legislative-

recommendations?responsive=1&title=1.

      Second, the federal foreign money ban does not apply to corporations

incorporated in the United States, even those wholly owned by foreign nationals.

This limitation only became evident after Citizens United v. FEC, 558 U.S. 310




4
   See also FEC Adv. Op. 1989-32 (Jul. 2, 1990) at 3,
https://www.fec.gov/files/legal/aos/1989-32/1989-32.pdf (“[C]ontributions or
expenditures relating only or exclusively to ballot referenda issues . . . do not fall
within the purview of [FECA].”); FEC Adv. Op. 1984-62 (Mar. 21, 1985) at 1 n.2,
https://www.fec.gov/files/legal/aos/1984-62/1984-62.pdf (same).


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(2010), because before that decision, no corporation—regardless of its foreign

ownership—could lawfully make contributions or expenditures from its treasury

funds to influence federal elections. See 52 U.S.C. § 30118(a). Instead, federal law

required corporations to make any contributions or expenditures through “separate

segregated funds,” i.e., highly regulated political committees (or “PACs”). See 11

C.F.R. § 114.5(b). These PACs could not spend a corporation’s treasury funds on

campaign advocacy and instead were limited to soliciting funds for this purpose from

a restricted class of employees and officers, none of whom could be foreign

nationals. See, e.g., FEC, Campaign Guide: Corporations and Labor Organizations,

at           32,        https://www.fec.gov/resources/cms-content/documents/policy-

guidance/colagui.pdf. Thus, prior to Citizens United, federal elections did not face

the specter of foreign-owned corporations directly spending their treasury funds

without the significant limitations of the PAC structure.

                                     ARGUMENT

I.        The Spending Ban Is Constitutional.

     A.      Restrictions on spending by foreign governments in ballot measure
             elections are constitutional.
          The district court noted that it was bound by Bluman v. FEC, 800 F. Supp. 2d

281, 288 (D.D.C. 2011) (three-judge court), summ. aff’d, 565 U.S. 1104 (2012), and

its holding that restrictions on contributions and expenditures by foreign nationals

are constitutional in connection to candidate elections. Add. at 29. It also found that


                                            8
the spending ban was “likely narrowly tailored when it comes to foreign

governments” in “the 21-A M.R.S. § 1064(1)(E)(1) category.” Add. at 33.

      But the lower court declined to decide whether “limiting foreign government

influence in referenda elections” likewise serves a “compelling interest.” Add. at 31.

Although the court “assume[d]” this was the case, id., insofar as its tentative holding

suggested the Act’s application to referenda was a “closer” constitutional question,

id. at 30, any such suggestion would be erroneous.

      When Bluman rejected a challenge to FECA’s foreign money ban, it held that

the government has “a compelling interest for purposes of First Amendment analysis

in limiting the participation of foreign citizens in activities of American democratic

self-government, and in thereby preventing foreign influence over the U.S. political

process.” 800 F. Supp. 2d at 288. Bluman thus highlighted that the Supreme Court

has long upheld the exclusion of foreign nationals from a range of “activities of

democratic self-government.” Id. Such exclusions are a “necessary consequence of

the community’s process of political self-definition.” See Cabell v. Chavez–Salido,

454 U.S. 432, 439-40 (1982) (upholding state requirement that peace officers be U.S.

citizens); Ambach v. Norwick, 441 U.S. 68 (1979) (upholding state provision that

prohibited noncitizens from being certified as public school teachers); Foley v.

Connelie, 435 U.S. 291 (1978) (upholding state statute requiring police officers to

be U.S. citizens). In these cases, the Court applied rational basis review in



                                          9
recognition of the “[s]tate’s historical power to exclude aliens from participation in

its democratic political institutions as part of the sovereign’s obligation to preserve

the basic conception of a political community.” Foley, 435 U.S. at 295-96 (internal

quotations and citation omitted).

      Although the facts in Bluman involved candidate elections, its reasoning thus

applies equally to efforts by states to prevent foreign spending in referenda. So

concluded a Washington state court that held that it was bound by Bluman to uphold

Washington state’s law prohibiting foreign spending in both candidate and ballot

measure campaigns. See OneAmerica Votes v. State, 518 P.3d 230, 247 (Wash. Ct.

App. 2022) (“[Washington] State’s interest in prohibiting foreign nationals from

making political contributions and the corresponding interest in prohibiting citizens

or domestic organizations from using money from foreign nationals to make such

contributions is a compelling one.”).5

      Indeed, Bluman highlighted that foreign nationals could be constitutionally

excluded from a wide range of “activities of democratic self-government”—



5
  In addition to Maine and Washington, nine other states have enacted laws
prohibiting foreign nationals from spending to influence ballot measure elections.
Cal. Gov’t Code § 85320; Colo. Rev. Stat. § 1-45-107.5; Md. Code, Elec. Law § 13-
236.1; Nev. Rev. Stat. § 294A.325; N.D. Cent. Code § 16.1-08.1-03.15; S.D.
Codified Laws § 12-27-21; Fla. Stat. § 106.08(12)(b); Idaho Code Ann. § 67-6610d;
Neb. Rev. Stat. § 49-1479.03. See also Wash. Rev. Code § 42.17A.417.



                                          10
regardless of their connection to a formal “electoral process.” 800 F. Supp. 2d at 288.

If exclusion is permissible with respect to employment as a public school teacher, it

is all the more urgent in connection to the state’s actual processes of direct self-

governance. As the district court affirmed, “[w]hen Maine citizens vote on referenda

they are certainly participating in an activity of democratic self-government.” Add.

at 30.

    B.      The “5% ownership” definition of “foreign government-influenced
            entity” is valid.
         Applying strict scrutiny, the district court held that the Act’s 5% threshold

was not narrowly tailored, Add. at 34, but did so by devising an overly narrow test

for which entities constitute “foreign nationals” and imposing undue evidentiary

obligations on the state without any basis in law.6

         The Act’s threshold of 5% ownership by a foreign government represents a

targeted approach to the problem of foreign government influence, relying on a well-

recognized, widely used benchmark already incorporated into existing federal

securities law.



6
 Notably, Bluman declined to decide the level of scrutiny, avoiding this “complex”
question by finding that the federal ban survived even strict scrutiny. 800 F. Supp.
2d at 285 (recognizing that limitations on foreign nationals often draw only “rational
basis review”). Insofar as this Court deems the level of scrutiny more “decisive” to
the outcome here, id., it should question the lower court’s application of strict
scrutiny to a law that comprises both contribution restrictions and expenditure
restrictions, as Maine urges, see Appellants’ Br. at 26.

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      Indeed, Citizens United can be fairly read to permit restrictions on election

activities of corporations with any equity held by foreign investors. The Supreme

Court understood that U.S. corporations derive their First Amendment rights from

the fact that they are “associations of citizens.” 558 U.S. at 349 (emphasis added).

Because a corporation’s right to participate in elections is premised on the rights of

its individual shareholders to participate in elections, the corporation cannot assert

any derivative First Amendment rights based on its non-citizen shareholders. As

FEC Commissioner Weintraub has reasoned, “[i]ndividual foreigners are barred

from spending to sway elections” so it would “def[y] logic to allow groups of

foreigners, or foreigners in combination with American citizens, to fund political

spending through corporations.” Ellen Weintraub, Taking On Citizens United, N.Y.

Times, Mar. 30, 2016, https://www.nytimes.com/2016/03/30/opinion/taking-n-

citizens-united.html. Thus, Citizens United supports the proposition that a

corporation with any foreign shareholders may be barred from making expenditures

in U.S. elections, or at the least, must do so through a PAC funded and controlled

entirely by U.S. citizens. See also Prof. Laurence H. Tribe, Statement re: St.

Petersburg legislation (Oct. 25, 2016) at 4, https://freespeechforpeople.org/wp-

content/uploads/2016/10/7.-Prof.-Laurence-Tribe-Letter-of-Support.pdf         (noting

that Bluman “suggests [foreign spending] limit could apply to corporations with any

equity held by foreign nationals”).



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      The Act takes a narrower approach. The 5% threshold for foreign government

ownership parallels a provision of the Securities Exchange Act of 1934 that requires

beneficial owners to file with the SEC their name, address, and number of shares if

they obtain more than 5% of any class of stock. See 15 U.S.C. § 78m(d); 17 C.F.R.

§§ 240.13d-1, 240.13d-101. This reporting requires disclosure of the purchaser’s

citizenship, see 17 C.F.R. § 240.13d-101 (item #6), and is publicly available on

commonly used websites such as MSN Finance, as well as through the SEC’s

EDGAR online database. Coates Ltr. at 12. By incorporating the SEC threshold for

mandatory reporting, the Act relies on Congressional and agency expertise regarding

what level of ownership is influential and should be disclosed to shareholders and

the public.

      In enjoining this provision, the decision below errs in at least three respects:

      1.      First, the decision below discounts the power of those who ultimately

own a corporation, asking, for instance, whether Citizens United might preclude a

spending ban as applied to a foreign-owned company “incorporated in Maine,

governed by a Board of Directors comprised of United States citizens and run by

United States citizen executive officers.” Add. at 34.

      But neither Citizens United nor Bluman held that a corporation’s operations

in the United States—or the nationality of its executive officers—is dispositive as to

whether it is a “foreign national.” Bluman recognized that the question of when “a



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corporation may be considered a foreign corporation for purposes of First

Amendment analysis” was an open one. 800 F. Supp. 2d at 292 n.4. The decision

below in this case misconstrues Citizens United to hold that any foreign money ban

“‘not limited to corporations or associations that were created in foreign countries

or funded predominantly by foreign shareholders’ would be overbroad.” Add. at 35

(quoting 558 U.S. at 362). But Citizens United held only that the federal ban on all

corporate treasury expenditures was overbroad, in part because this sweeping ban

was not limited to foreign corporations and associations. Neither Citizens United nor

Bluman forecloses the conclusion that the compelling interest in limiting electoral

spending by foreign corporations applies equally to domestic corporations owned or

influenced by foreign governments.

      Indeed, the likely reason the existing federal foreign money ban does not

address foreign-owned domestic corporations is because until the 2010 Citizen

United decision, FECA barred all corporations, regardless of their foreign

ownership, from making expenditures of treasury funds in federal elections. 52

U.S.C. § 30118(a). See supra at 7-8. Neither governing precedent nor the history of

FECA suggests that Maine lacks the authority to prevent foreign government money

from entering its elections indirectly through corporations and other vehicles.

      2.     The district court also had no legal grounds for assuming that the Act’s

spending ban could permissibly extend to only those corporations controlled by



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foreign governments See, e.g., Add. at 34 (questioning whether securities law used

5% benchmark as “a proxy for control”). Neither Citizens United nor Bluman

mandate that foreign ownership be “controlling” as opposed to simply “influential”

for a corporation to be deemed “foreign” for the purposes of campaign finance

regulation.

      It is thus neither “arbitrary” nor overinclusive, Add. at 34-35, to incorporate a

5% threshold in a statute that seeks to set a bright line for when a foreign government

is capable of significantly influencing an entity’s decisions regarding political

spending. And the threshold’s careful tailoring is reflected in the narrow subset of

domestic corporations that it covers. Even among publicly-traded corporations in the

S&P 500, only about 9% have a foreign stockholder with more than 5% ownership

of the company’s voting shares. See Coates Ltr. at 6. Far fewer will have a foreign

governmental investor with this level of ownership.

      To those unfamiliar with the world of corporate stock ownership, takeover,

and control, 5% may seem like a small number. In fact, a 5% interest in a publicly

held corporation is a “substantial interest.” GAF Corp. v. Milstein, 453 F.2d 709, 717

(2d Cir. 1971) (quoting S. Rep. No. 550, 90th Cong., 1st Sess. 4 (1967); H.R. Rep.

No.1711, 90th Cong., 2d Sess. 4 (1968)). In establishing the 5% threshold for public

disclosure under the Williams Act, Congress acted, “because the acquisition of a

substantial block of stock would enable a stockholder to ‘achieve the power to



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influence the management and control of the corporation.’” Section 13(d) and

Disclosure of Corporate Equity Ownership, 119 U. PA. L. REV. 853, 862 (1971).

       Indeed, it is not just the formal power of a 5% investor, but its informal

influence that is critical to corporate governance.7 The lower court’s focus on

whether the typical 5% investor will or will not assume formal control through a

corporate takeover is thus beside the point. As Professor Coates has explained in the

context of shareholder proposals, “the SEC itself recognizes that [even] one percent

ownership is so significant that investors with that level of ownership don’t even

need [the proposal] process; they can easily get executive-suite management on the

phone.” Coates Ltr. at 9.

      3.     The Act’s concerns are “neither novel nor implausible,” Nixon v. Shrink

Missouri Gov’t PAC, 528 U.S. 377, 397 (2000), and consequently “the quantum of

empirical   evidence    needed   to   satisfy   heightened   judicial   scrutiny”   is

correspondingly light, id. at 378. Maine need not establish the constitutional



7
  Even 1% ownership is deemed substantial in corporate governance because, for
decades, the ability to present a shareholder proposal occurred at this threshold (or
alternatively, a $2,000 monetary threshold). 17 C.F.R. § 240.14a–8 (2018). In 2019,
the 1% threshold was reconsidered, but not because it was too low, but rather
unrealistically high. See SEC, Procedural Requirements and Resubmission
Thresholds under Exchange Act Rule 14a-8, 84 Fed. Reg. 66,458 (Dec. 4, 2019).
The SEC explained that proposals in the past were typically submitted by
shareholders that did not meet the 1% threshold, and cited authority indicating that
shareholders of this size instead often communicated with corporate leadership
directly to influence decisions. Id. at 66,464. See also Coates Ltr. 8-9.

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foundation for a foreign corporate money ban in the first instance—this is not in

dispute—but only that its threshold for determining significant foreign government

shareholder influence is reasonable.

      All that Maine need show is that 5% ownership is a level at which a foreign

government shareholder has the capacity to influence a corporation’s political

spending. See Appellants’ Br. at 44-52. The lower court decision required the state

to show that in fact “a foreign government or foreign government-owned entity with

less than full ownership of a domestic entity has exerted influence over that entity’s

election spending in Maine,” Add. at 35. This is an impracticable evidentiary

standard without precedent. There is no question that Maine has experienced large-

scale campaign spending by foreign government-owned entities in multiple

elections. See supra at 3-4. And based on the positions taken by the corporations

regarding those referenda, one can surmise that these positions furthered the interests

of their foreign government shareholders.

      However, Maine has little access to information about whether these

corporations’ internal decisions on election spending were in fact “influenced” or

“controlled” by their foreign governmental investors. This is uniquely within the

knowledge of the entity itself, and the typical organization is hardly inclined to

publicize the details of its political decision-making. It is thus virtually impossible

to produce the information that the district court decision requires—absent a state



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investigation or discovery in litigation. In circumstances like these, the Supreme

Court has allowed legislatures to take a prophylactic approach when the problem

targeted is “neither easily detected nor practical to criminalize.” McConnell v. FEC,

540 U.S. 93, 153 (2003). Maine was thus reasonable to incorporate a bright-line

threshold into its law, and “no smoking gun is needed” in terms of evidence, “where,

as here, the conflict of interest is apparent, the likelihood of stealth great, and the

legislative purpose prophylactic.” Blount v. SEC, 61 F.3d 938, 945 (D.C. Cir. 1995).

      Furthermore, even when reviewing for narrow tailoring, courts grant the

legislature substantial discretion in setting the level of monetary limits and

thresholds, and other structural features of campaign finance laws. For example,

almost every political disclosure law relies on a monetary threshold to trigger its

reporting requirements, which, if the disclosure law is otherwise permissible, need

only to be “reasonable” and not “without rationality.” Buckley v. Valeo, 424 U.S. 1,

83 (1976) (this “line is necessarily a judgmental decision, best left in the context of

this complex legislation to congressional discretion”). Nat’l Org. for Marriage v.

McKee, 649 F.3d 34, 60 (1st Cir. 2011) (noting courts pay “judicial deference to

plausible legislative judgments as to the appropriate location of a reporting

threshold, and have upheld such legislative determinations unless they are wholly

without rationality”) (internal quotations omitted).




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      Likewise, contribution restrictions often include varying monetary limits that

reflect the legislature’s judgment about the relative risks from various types of

contributors. See, e.g., Daggett v. Comm’n on Gov’t Ethics & Election Pracs., 205

F.3d 445, 459 (1st Cir. 2000) (“‘[I]f it is satisfied that some limit on contributions is

necessary, a court has no scalpel to probe, whether, say, a $2,000 ceiling might not

serve as well as $1,000.’”) (quoting Buckley, 424 U.S. at 30). To defend the monetary

amounts at which contribution limits are set, the government is not required to

“prove” that, for instance, contributors of $250 and $500 intend to corrupt a

candidate, id. at 458, or that contributors of exactly this amount have done so in the

past, id. at 456-57. See also Citizens United, 558 U.S. at 357 (noting that “restrictions

on direct contributions are preventative, because few if any contributions to

candidates will involve quid pro quo arrangements”). Instead, the Supreme Court

has consistently counseled deference to legislative judgments—including those of

citizen legislators in referenda—regarding the structure of contribution limits. See,

e.g., Shrink Missouri, 528 U.S. at 395-97. See also McConnell, 540 U.S. at 137; Cal.

Med. Ass’n v. FEC, 453 U.S. 182, 201 (1981); Buckley, 424 U.S. at 30.

      In reviewing the 5% threshold at § 1064(1)(E)(2)(a), the court below was

similarly considering a structural aspect of an otherwise valid and well-established

type of campaign finance law. Federal law has for decades barred foreign

governments and foreign corporations from making contributions or expenditures in



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federal and state candidate elections, 52 U.S.C. § 30121. And here, because it is

difficult to “isolate suspect contributions [and expenditures],” Buckley, 424 U.S. at

29-30, or ascertain actual foreign influence on a case-by-case basis, it was

“reasonable” for Maine to adopt a bright line for shareholder influence drawn from

longstanding federal laws.

   C.      The “actual influence” definition is neither overbroad nor vague.

        The district court also found the “actual influence” definition, 21-A Me. Rev.

Stat. § 1064(1)(E)(2)(b), “overly broad and too unclear,” Add. at 36, but did so based

upon a single hypothetical application of the Act posited by plaintiffs, which is

insufficient grounds for the facial relief they sought.

        Plaintiffs argued that § 1064(1)(E)(2)(b) was vague and overbroad because

the language “directly or indirectly participates” could be interpreted to cover “a

domestic corporation with no foreign ownership” that receives an “unsolicited

email” from a foreign government-owned entity “about an election-related issue.”

Add. at 37. This hypothetical relies on a misreading of the statute and an implausible

series of events. But even if it did not suffer these defects, a single conjectural

application of § 1064(1)(E)(2)(b) would not justify invalidating this provision on its

face. To sustain an overbreadth challenge, plaintiffs must show “a substantial

number of [the Act’s] applications are unconstitutional, judged in relation to the




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statute’s plainly legitimate sweep.” Americans for Prosperity Found. v. Bonta, 594

U.S. 595, 615 (2021).

      As the district court conceded, the “actual influence” definition “bears a close

resemblance” to a long-standing FEC regulation, 11 C.F.R. § 110.20(i), which has

governed foreign campaign activity at the federal level “for over twenty years

without any significant challenge.” Add. at 36; see also Contribution Limitations and

Prohibitions, 67 Fed. Reg. 69928-01, 69946 (Nov. 19, 2002).8 The “legitimate

sweep” of § 1064(1)(E)(2)(b) is thus plain, and the district court did not find

otherwise. And insofar as the court had lingering doubts as to the scope of the “actual

influence” definition, it could draw upon decades of FEC precedents interpreting the

federal rule.9 Finally, in the unlikely event that the Maine Commission on

Governmental Ethics (“Commission”) was to apply § 1064(1)(E)(2)(b) to the

passive receipt of unsolicited emails, “individual challenges, including those


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  11 C.F.R. §110.20(i) (“A foreign national shall not direct, dictate, control, or
directly or indirectly participate in the decision-making process of any person, such
as a corporation, . . . with regard to such person’s Federal or non-Federal election-
related activities.”).
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     See,      e.g.,   FEC      Adv.     Op.    2006-15     (May     19,    2006),
https://www.fec.gov/files/legal/aos/2006-15/2006-15.pdf (permitting election
expenditures by U.S. subsidiaries of a foreign corporation provided the funds were
drawn from the subsidiary’s domestic operations and political decisions were made
by U.S. citizens); FEC Adv. Op. 1989-20 (Oct. 27, 1989),
https://saos.fec.gov/saos/searchao?AONUMBER=1989-20 (declining to approve a
contribution by a U.S. company to state candidates because its PAC was funded
primarily by its foreign parent corporation).


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alleging that the requirements impose an unusual burden in particular circumstances

. . . [could] be brought in the form of as-applied challenges.” Gaspee Project v.

Mederos, 13 F.4th 79, 93 (1st Cir. 2021).

      Nor does plaintiffs’ lone hypothetical justify finding that the “indirectly

participates” language in § 1064(1)(E)(2)(b) is unconstitutionally vague. That the

Act did not itself “expressly define the phrase” does not “render the phrase vague.”

Nat’l Org. for Marriage v. Daluz, 654 F.3d 115, 121 (1st Cir. 2011). Indeed, the

lower court did not so much fault the statutory definition for vagueness as question

the clarity of certain implementing regulations considered by the Commission in

connection to § 1064(1)(E)(2)(b) in early 2024.10

      The lower court found that these “proposed definitions” eliminated the Act’s

requirement that “foreign government or foreign government-owned entity

participate in the [corporation’s] actual decision-making process.” Add. at 37. The

proposed regulations did not make this change, but even assuming they did, this

would be reason to invalidate the regulation, not the statute. And, in fact, the

regulation the lower court considered was not even adopted; instead, the

Commission has promulgated new regulations, revised in part to address the lower



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   Maine Comm’n on Gov’t Ethics, Proposed Rule Amendments, Feb. 5, 2024,
https://www.maine.gov/ethics/sites/maine.gov.ethics/files/inline-
files/Draft%20Amendments%20for%20Public%20Comment_0.pdf.


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court’s expressed concerns about § 1064(1)(E)(2)(b). See Maine Comm’n on Gov’t

Ethics,      May         29,       2024        Meeting,        Item       No.        6,

https://www.maine.gov/ethics/meeting/2024-0529.

      Nor is it tenable to claim that the statute itself is so vague that it could be

understood to cover unsolicited email. Plaintiffs provide no other context, legal or

otherwise, where “participate in the decision-making process,” is understood to

encompass the sending of unsolicited emails to a passive recipient. And one is hard-

pressed to even imagine the circumstances in which a foreign government would

take it upon itself to send unsolicited “spam” email to unrelated corporations,

without any knowledge about whether these corporations even have political

interests in Maine or the capacity to take action on such interests.

      Plaintiffs’ conjecture that § 1064(1)(E)(2)(b) reaches unsolicited email thus

both defies the language of the Act and is implausible on its own terms. But even if

this reading of the Act were more tenable, it would not demonstrate that the Act is

so “standardless” as to justify its facial invalidation. United States v. Williams, 553

U.S. 285, 304 (2008).

II.   The District Court’s Failure to Review All Provisions of the Act Is an
      Abuse of Discretion.
      The district court’s failure to analyze whether it could enjoin only those

provisions of the spending ban it found invalid runs contrary to the presumption of

severability under state law, see 1 Me. Rev. Stat. § 71(8). Even worse, the court also


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enjoined provisions of the Act, such as the disclaimer requirement, without any

consideration of their constitutionality. This is an abuse of discretion.

   A.      The disclaimer requirement is a stand-alone measure that advances
           distinct governmental interests and is subject to only an intermediate
           standard of scrutiny.
        In addition to the ban on foreign spending, see 21-A Me. Rev. Stat. § 1064(1)-

(2), the Act includes a separate disclosure provision requiring FGIEs to include a

disclaimer identifying themselves as a “foreign government” or a “foreign

government-influenced entity” on any public communication “to influence the

public or any state, county or local official or agency regarding the formulation,

adoption or amendment of any state or local government policy or regarding the

political or public interest of or government relations with a foreign country or a

foreign political party,” see id. § 1064(6). The district court wholly failed to address

the constitutionality of this disclaimer requirement.

        Beyond their common reliance on the definition of “foreign government-

influenced entity” at § 1064(1)(E), the disclaimer and the spending ban are

unconnected. The disclosure requirement in no way turns on the operation of the

spending ban, nor is it intended to implement the ban.

        Further, the lower court’s analysis of the spending ban does not implicate the

constitutionality of the disclaimer provision because the two types of laws are

subject to different standards of scrutiny and supported by different governmental



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interests. The lower court’s failure to consider whether § 1064(6) could be given

effect if applications of the spending ban were found invalid thus cannot be justified.

      The governmental interest advanced by disclosure laws is well-established: to

enable citizens to “make informed decisions and give proper weight to different

speakers and messages.” Citizens United, 558 U.S. at 370-71. Although this

informational interest is particularly acute in connection to political advocacy

conducted by foreign interests—as evinced by longstanding federal laws such as

FARA, see 22 U.S.C. § 614(b)—this interest is distinct from those furthered by the

foreign government spending ban.

      Furthermore, unlike a substantive restriction on campaign spending, a

disclosure requirement “impose[s] no ceiling on campaign-related activities,”

Citizens United, 558 U.S. at 366 (internal quotation marks omitted), and is

consequently reviewed under “exacting,” not strict, scrutiny, id. at 366-67. Exacting

scrutiny does not impose a “least restrictive means” test, and thus the lower court’s

concerns about the potential overbreadth of § 1064(1)(E)(2)(a) and (b) with respect

to the spending ban have little application to the review of a disclosure law.

      Indeed, given that disclaimers can be—and often are—required from U.S.

citizens and domestic entities in connection to their political communications, it is

unclear what “tailoring” is even required with respect to the 5% ownership threshold

in connection to a disclosure law. The question here is not whether §



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1064(1)(E)(2)(a) defines with enough precision those entities that are sufficiently

“foreign” to be subject to a campaign spending ban. Instead, the constitutionality of

this provision turns on whether the disclaimers it requires provide voters with useful

information about the sponsors of lobbying communications—including their

foreign ownership—and thereby “promote the dissemination of information about

those who deliver and finance political speech.” McKee, 649 F.3d at 41.

      Because the distinctions between campaign spending limits and disclaimers

are so significant in First Amendment cases, disclosure laws are often upheld even

as the substantive campaign finance restrictions they accompany are struck down.

Citizens United, 558 U.S. at 365-66, 367-371 (striking down corporate expenditure

restriction while upholding related disclosure requirements); SpeechNow.org v. FEC,

599 F.3d 686, 698 (D.C. Cir. 2010) (en banc) (invalidating contribution limits as

applied to super PACs but sustaining the disclosure regime applicable to such PACs).

      Here too, Maine’s disclaimer requirement is on firm constitutional ground,

even if the lower court’s holding regarding the spending ban were to be affirmed.

The courts have consistently upheld campaign disclaimer requirements, see, e.g.,

Citizens United, 558 U.S. at 367; McConnell, 540 U.S. at 196-97, as well as FARA,

the federal law upon which § 1064(6) was modeled, see Att’y Gen. of U.S. v. Irish

People, Inc., 684 F.2d 928, 935 & n.23 (D.C. Cir. 1982), cert. denied sub nom., Irish




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People Inc. v. Smith, 459 U.S. 1172 (1983) (holding that “it is well settled that FARA

is constitutional” and collecting cases).

      Since its enactment in 1938, FARA has required “agents” representing

“foreign principals”—a term that includes foreign governments and foreign

corporations—to register with the Department of Justice and to include disclaimers

on any “informational material” they distribute for a foreign principal. 22 U.S.C. §§

612(a), 614(b). Maine’s disclaimer requirement serves as a state counterpart to

FARA’s disclaimer requirements and is thus further justified by the unique

informational interests animating FARA. See, e.g., Att’y Gen. v. Irish N. Aid Comm.,

346 F. Supp. 1384, 1390 (S.D.N.Y. 1972), aff’d, 465 F.2d 1405 (2d Cir. 1972)

(explaining that “purpose of [FARA]” is to “require[e] complete public disclosure

by persons acting for . . . foreign principals where their activities are political in

nature” thereby “enabl[ing] [citizens] to understand the purposes for which they

act”). Like FARA, Maine’s disclaimer requirement offers a “reasonable and

minimally restrictive method of furthering First Amendment values.” Buckley, 424

U.S. at 82.

      For these reasons, this Court should affirm the constitutionality of the

disclaimer requirement at § 1064(6), or, in the alternative, direct the lower court to

review the disclaimer requirement under exacting scrutiny in the first instance.




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   B.      The injunction is overbroad.

        Under Maine law, if a provision or application of a law is invalid, but its

“invalidity does not affect other provisions or applications which can be given effect

without the invalid provision or application,” the law is severable. 1 Me. Rev. Stat.

§ 71(8).

        The district court found only the second and third definitions of “foreign

government-influenced entity” were likely unconstitutional, see 21-A Me. Rev. Stat.

§ 1064(1)(E)(2)(a) & (2)(b); nevertheless, it refused to consider Maine’s request that

it sever them from the Act and thereby preserve the spending ban as to “foreign

governments,” see id. § 1064(1)(E)(1); Add. at 38. But the district court did not

question that the spending ban, limited to foreign governments, was likely

constitutional, see Add. at 31, nor that this more limited ban could easily “be given

effect,” see 1 Me. Rev. Stat. § 71(8).

        Although the court stated that it was reserving the question of severability to

allow for briefing on how invalidation of the “5% ownership” and “actual influence”

FGIE definitions “would affect the Act’s remaining provisions,” Add. at 39, the court

provided no reasoning for this reservation. The Act contains three separate

definitions of “foreign government-influenced entity,” and the two definitions that

the lower court found overbroad have no effect on the ban as applied to “foreign

governments,” see 21-A Me. Rev. Stat. § 1064(1)(E)(1). It may be that the lower



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court was concerned about how enjoining two of the three FGIE definitions would

affect entirely different provisions of the Act, i.e., the media “due diligence”

requirements and the disclaimer requirement. But the proper solution would be to

review those provisions and enjoin or narrow them if necessary—which the lower

court wholly failed to do—not to block enforcement of the clearly constitutional ban

on campaign spending by foreign governments.

                                  CONCLUSION

      For these reasons, the preliminary injunction should be vacated. Alternatively,

if this Court affirms the lower court’s reasoning, it should direct the lower court to

(1) enjoin 21-A Me. Rev. Stat. § 1064(1)(E)(2)(a) and (b) only in connection to the

spending ban, (2) preserve the spending ban as to “foreign governments,” id. §

1064(1)(E)(1), and (3) declare the disclaimer requirement at § 1064(6)

constitutional.




                                         29
Dated: June 17, 2024

                            Respectfully submitted,




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                       30
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      I hereby certify that this brief contains 6,475 words, excluding the parts of the

brief exempted by Fed. R. App. P. 32(f)(7)(B)(iii), which complies with the

requirements in Fed R. App. P. 32(a)(7)(B)(i) and Fed R. App. P. 29(A)(5).

      I further certify that his brief complies with the typeface requirements of Fed.

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                                              /s/ Peter L. Murray
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                                         31
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      I hereby certify that on June 17, 2024, I electronically filed the foregoing

document with the United States Court of Appeals for the First Circuit by using the

CM/ECF system, which will send a notification of such filing to all counsel of

record.

                                             /s/ Peter L. Murray
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                                        32
